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                                 UNITED STATES DISTRICT COURT
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                            SOUTHERN DISTRICT OF CALIFORNIA
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       JANE HUDSON, CHARISSA LEWIS,                )   CASE NO. 3:17-cv-01741-AJB-JLB
12
       WILLIAM PEREZ, JR., RUSSELL                 )
13     SMITH, AND CHRISTINA WISEMAN,               )   CLASS ACTION
       INDIVIDUALLY AND ON BEHALF OF               )
14
       ALL OTHERS SIMILARLY SITUATED,              )   ORDER GRANTING JOINT
15                                                 )   STIPULATED MOTION TO
16                 Plaintiffs,                     )   DISMISS PURSUANT TO FED. R.
                                                   )   CIV. P. 41(a)(1)(A)(ii)
17           vs.                                   )
18                                                 )   (Doc. No. 27)
       EXPERIAN INFORMATION                        )
19     SOLUTIONS, INC.,                            )
20                                                 )
                   Defendant.                      )
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                                             -1-        ORDER GRANTING JOINT STIPULATED MOTION TO
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                                                                                            DISSMISS
                                                                       CASE NO: 3:17-cv-01741-AJB-JLB
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     Case 3:17-cv-01741-AJB-JLB Document 29 Filed 04/16/18 PageID.146 Page 2 of 2


             Having considered the parties’ Joint Stipulated Motion to Dismiss, the
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       above-entitled action is hereby dismissed, with prejudice as to Plaintiffs’
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       individual action, and without prejudice as to the putative class claims asserted in
 3
 4     the lawsuit. Each party shall bear its own costs and fees.

 5           IT IS SO ORDERED.
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       Dated: April 16, 2018
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                                              -2-    ORDER GRANTING JOINT STIPULATED MOTION TO
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                                                                                         DISSMISS
                                                                    CASE NO: 3:17-cv-01741-AJB-JLB
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